     Case 2:14-cr-00021-RMP    ECF No. 1067    filed 12/02/14   PageID.4786 Page 1 of 1




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 2
 3                        UNITED STATES DISTRICT COURT

 4                      EASTERN DISTRICT OF WASHINGTON

 5
     UNITED STATES OF AMERICA,                    No. 2:14-CR-021-RMP-23
 6
 7                     Plaintiff,                 ORDER GRANTING
                                                  DEFENDANT’S UNOPPOSED
 8 vs.                                            MOTION TO MODIFY
 9
   BRETT A. LUTON,
10
11                     Defendant.
12         Before the Court is Defendant’s Fourth Motion, ECF No. 1066, to modify
13   his conditions of release, ECF No. 606 and ECF No. 997, by providing for a
14   curfew and home restriction during the time of curfew.          The United States
15   Probation Office and the United States Attorney’s Office have no objection to this
16   modification.
17         IT IS ORDERED that Defendant’s Motion, ECF No. 1066, is GRANTED.
18   Defendant’s conditions of release as stated in ECF No. 606, and as modified by the
19   Order at ECF NO. 997, are modified to eliminate the requirement of home
20   detention and instead require that the Defendant have a curfew commencing from
21   9:00 p.m. through 9:00 a.m., during which the Defendant shall be restricted to his
22   residence.
23         Except as modified hereby, the Defendant’s conditions of release reflected in
24   ECF No. 606 and ECF No. 997 shall remain the same, in full force and effect.
25         DATED December 2, 2014.
26
27                                  _____________________________________
                                              JOHN T. RODGERS
28                                   UNITED STATES MAGISTRATE JUDGE



     ORDER - 1
